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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

 In re                                                     Chapter 7

 Unique Fabricating, Inc.,                                 Case No. 23-11824 (KBO)

                       Debtor.


                    MOTION AND ORDER FOR ADMISSION PRO HAC VICE

    Pursuant to Local Rule 9010-1 and the below certification, counsel moves the admission pro hac vice of C.
David Bargamian of Barris, Sott, Denn & Driker, P.L.L.C., to represent Citizens Bank, N.A. in the above-
captioned case.

Dated: November 8, 2023                           /s/ Derek C. Abbott
                                                  Derek C. Abbott (No. 3376)
                                                  MORRIS, NICHOLS, ARSHT & TUNNELL LLP
                                                  1201 N. Market Street, 16th Floor
                                                  P.O. Box 1347
                                                  Wilmington, DE 19899-1347
                                                  Telephone: (302) 658-9200
                                                  Email: dabbott@morrisnichols.com

              CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

     Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am admitted,
practicing, and in good standing as a member of the Bar of the State of Michigan and submit to the disciplinary
jurisdiction of this Court for any alleged misconduct which occurs in the preparation or course of this action. I
also certify that I am generally familiar with this Court’s Local Rules and with the Standing Order for District
Court Fund effective September 1, 2016. I further certify that the annual fee of $25.00 has been paid to the
Clerk of the Court for the District Court.

Dated: November 8, 2023                           /s/ C. David Bargamian
                                                  C. David Bargamian
                                                  BARRIS, SOTT, DENN & DRIKER, P.L.L.C.
                                                  333 W Fort Street, Suite 1200
                                                  Detroit, MI 48226
                                                  Telephone: (313) 965-9725
                                                  Email: dbargamian@bsdd.com

                                    ORDER GRANTING MOTION

    IT IS HEREBY ORDERED that counsel’s Motion for Admission pro hac vice is granted.




   Dated: November 9th, 2023                              KAREN B. OWENS
   Wilmington, Delaware                                   UNITED STATES BANKRUPTCY JUDGE
